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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

UNITED STATES OF AMERICA                                                                 PLAINTIFF

v.                                   NO. 4:09CR00305-02 JLH

RALPH FRANCIS DELEO                                                                    DEFENDANT

                                              ORDER

       Ralph Deleo has filed a motion to vacate or set aside his conviction pursuant to 28 U.S.C.

§ 2255. Pursuant to Rule 201 of the Federal Rules of Evidence, the Court is considering taking

judicial notice of the fact that Deleo entered a guilty plea to a superseding information in the United

States District Court of Massachusetts, Case No. 1:09-CR-10391-DPW-1; that the superseding

information charged Deleo and others with a RICO conspiracy in violation of 18 U.S.C. § 1962(d);

and that one of the predicate offenses charged in the superseding information was the same offense

at issue in this case. Pursuant to Rule 201(e), the Court is hereby giving the parties the opportunity

to be heard on the propriety of taking judicial notice of these facts and is giving the parties an

opportunity to brief the issue of the significance of these facts, provided the Court takes judicial

notice of them.

       If Deleo wishes to file a brief on these issues, he may do so within thirty days from the entry

of this Order. If the government wishes to file a response, it may do so within fourteen days after

Deleo’s brief is received; and if Deleo wishes to file a reply, he may do so within fourteen days after

the government files its response.

       IT IS SO ORDERED this 18th day of October, 2013.



                                                       J. LEON HOLMES
                                                       UNITED STATES DISTRICT JUDGE
